                         Case 1:24-cr-10090-WGY
2-6   5HYLVHG86'&0$           Document 10-1 Filed 04/11/24 Page 1 of 4
Criminal Case Cover Sheet                                                              U.S. District Court - District of Massachusetts

Place of Offense: Revere, MA               Category No.       II                    Investigating Agency                DEA

City    Revere                                   5HODWHG&DVH,QIRUPDWLRQ
                                                  6XSHUVHGLQJ,QG,QI                   &DVH1R
County       Suffolk
                                                  6DPH'HIHQGDQW                    1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU 24-7150-JCB

                                                  6HDUFK:DUUDQW&DVH1XPEHU 24-7151-JCB, 24-7152-JCB
                                                  55IURP'LVWULFWRI
Defendant Information:
                                                  ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                   K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                   <HV       ✔ 1R
'HIHQGDQW1DPH         Jason Hunter                                                                          -XYHQLOH          G <HV        ✔ 1R
                                        ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                  G <HV        ✔ 1R
$OLDV1DPH
$GGUHVV               Revere Street, Revere, MA

                      1976
%LUWKGDWH <URQO\ BBBBBB 661 ODVW BBBBB           M
                                                         6H[BBBBBB         5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                             1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:         Cara McNamara                                    $GGUHVV 51 Sleeper Street, 5th Floor

%DU1XPEHU                                                                                      Boston, MA 02210

U.S. Attorney Information

$86$       Katherine Ferguson                                          %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV     ✔ 1R                               /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV     ✔ 1R          ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV         1R

Matter to be SEALED:                    <HV       ✔ 1R
    :DUUDQW5HTXHVWHG                  5HJXODU3URFHVV              ✔,Q&XVWRG\

/Rcation Status:

$rrest Date            April 3, 2024

✔ $OUHDG\LQ)HGHUDO&XVWRG\DVRI          04/04/2024                                    LQ    Plymouth                                
    $OUHDG\LQ6WDWH&XVWRG\DW                                                      6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                                 RQ

Charging Document:                       &RPSODLQW               G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                  G 3HWW\                      G 0LVGHPHDQRU                           ✔ )HORQ\ 3

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 4/11/2024                               6LJQDWXUHRI$86$
                       Case 1:24-cr-10090-WGY Document 10-1 Filed 04/11/24 Page 2 of 4
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Jason Hunter
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                                  Count Numbers
                                                       &RQVSLUDF\WR'LVWULEXWHDQGWR3RVVHVVZLWK,QWHQW
          21 U.S.C. § 846
                                                       WR'LVWULEXWH&RQWUROOHG6XEVWDQFHV                                     1
6HW
                                                      'LVWULEXWLRQRIDQG3RVVHVVLRQZLWK,QWHQWWR'LVWULEXWH*UDPVRU
          86& D                       0RUHRID0L[WXUHDQG6XEVWDQFH&RQWDLQLQJ0HWKDPSKHWDPLQH
           E $ YLLL DQG E  % LL                   *UDPVRU0RUHRI&RFDLQHDQG2WKHU&RQWUROOHG6XEVWDQFHV
                                                                                                                               2
6HW

          18 U.S.C. § 1956(h)                          Money Laundering Conspiracy                                             4
6HW

          21 U.S.C. § 853                              Drug Forfeiture Allegation
6HW

          18 U.S.C. § 982(a)(1)                        Money Laundering Forfeiture Allegation
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
                         Case 1:24-cr-10090-WGY
2-6   5HYLVHG86'&0$           Document 10-1 Filed 04/11/24 Page 3 of 4
Criminal Case Cover Sheet                                                              U.S. District Court - District of Massachusetts

Place of Offense: Revere, MA               Category No.       II                    Investigating Agency                DEA

City    Revere                                   5HODWHG&DVH,QIRUPDWLRQ
                                                  6XSHUVHGLQJ,QG,QI                   &DVH1R
County       Suffolk
                                                  6DPH'HIHQGDQW                    1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU 24-7150-JCB

                                                  6HDUFK:DUUDQW&DVH1XPEHU 24-7151-JCB, 24-7152-JCB
                                                  55IURP'LVWULFWRI
Defendant Information:
                                                  ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                   K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                   <HV       ✔ 1R
'HIHQGDQW1DPH         Walter Norton                                                                         -XYHQLOH          G <HV        ✔ 1R
                                        ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                  G <HV        ✔ 1R
$OLDV1DPH
$GGUHVV               High Hill Road, Atkinson, NH

                      1979
%LUWKGDWH <URQO\ BBBBBB 661 ODVW BBBBB           M
                                                         6H[BBBBBB         5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                             1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:         James L. Sultan                                  $GGUHVV 1666 Massachusetts Avenue, Suite P-16

%DU1XPEHU                                                                                      Lexington, MA 02420

U.S. Attorney Information

$86$       Katherine Ferguson                                          %DU1XPEHULIDSSOLFDEOH

Interpreter:              <HV     ✔ 1R                               /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV     ✔ 1R          ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV         1R

Matter to be SEALED:                    <HV       ✔ 1R
    :DUUDQW5HTXHVWHG                  5HJXODU3URFHVV              ✔,Q&XVWRG\

/Rcation Status:

$rrest Date            April 3, 2024

✔ $OUHDG\LQ)HGHUDO&XVWRG\DVRI          04/04/2024                                    LQ    Plymouth                                
    $OUHDG\LQ6WDWH&XVWRG\DW                                                      6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                                 RQ

Charging Document:                       &RPSODLQW               G ,QIRUPDWLRQ                           ✔,QGLFWPHQW

Total # of Counts:                  G 3HWW\                      G 0LVGHPHDQRU                           ✔ )HORQ\ 2

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 4/11/2024                               6LJQDWXUHRI$86$
                       Case 1:24-cr-10090-WGY Document 10-1 Filed 04/11/24 Page 4 of 4
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Walter Norton
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                       Count Numbers
                                                        &RQVSLUDF\WR'LVWULEXWHDQGWR3RVVHVVZLWK,QWHQW
          21 U.S.C. 846                                 WR'LVWULEXWH&RQWUROOHG6XEVWDQFHV                         1
6HW
                                                       3RVVHVVLRQZLWK,QWHQWWR'LVWULEXWH*UDPVRU0RUHRI
           86& D                        D0L[WXUHDQG6XEVWDQFH&RQWDLQLQJ0HWKDPSKHWDPLQH
           DQG E $ YLLL                                                                                            3
6HW                                                  DQG0DULMXDQD

          21 U.S.C. § 853                              Drug Forfeiture Allegation
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
